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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

                                              )
JUDICIAL WATCH, INC.,                         )
                                              )
                 Plaintiff,                   )
                                              )
      v.                                      )      Civil Action No. 17-cv-2120 (TSC)
                                              )
U.S. DEPARTMENT OF JUSTICE,                   )
                                              )
                 Defendant.                   )
                                              )

                                  ORDER OF DISMISSAL

       In light of the Joint Stipulation of Dismissal filed by the parties, ECF No. 16, this action

is hereby dismissed with prejudice pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii). Each party to bear

its own costs.



Date: May 24, 2018




                                              Tanya S. Chutkan
                                              TANYA S. CHUTKAN
                                              United States District Judge         
